                             NO. 07-10-00166-CR

                           IN THE COURT OF APPEALS

                      FOR THE SEVENTH DISTRICT OF TEXAS

                                 AT AMARILLO

                                   PANEL B

                               JANUARY 4, 2011




                              WILLIAM LEE BAUM,


                                   Appellant
                                     v.


                             THE STATE OF TEXAS,


                                    Appellee
                        _____________________________

               FROM THE 100TH DISTRICT COURT OF DONLEY COUNTY;

                NO. 3669; HONORABLE STUART MESSER, PRESIDING



                             Memorandum Opinion



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
      Appellant William Lee Baum was convicted of indecency  with  a  child.
He seeks to overturn that conviction by contending the  trial  court  should
have granted his  motion  to  suppress  his  statement  to  law  enforcement
officers.  We disagree and affirm the judgment.
      Appellant argues that his statement was involuntary and the result  of
coercion.  A hearing was held on his motion to suppress and the trial  court
denied it.   At the time the State sought to  have  the  statement  admitted
into evidence before  the  jury,  appellant  stated,  "No  objection."   The
statement was admitted, and the State then asked to publish it to the  jury.
 The court granted  permission,  but  before  it  was  published,  appellant
renewed his objections "made  prior  to  this  trial"  and  urged  that  the
statement be suppressed.  The court overruled the objections.
      To preserve error for review, a party  must  make  a  timely  request,
objection or motion.  Tex.  R.  App.  P.  33.1(a)(1).   To  be  timely,  the
objection must be made at the earliest opportunity.  Gillenwaters v.  State,
205 S.W.3d 534, 537 (Tex. Crim. App. 2006) (stating  that  an  objection  is
timely if made as soon as the grounds for it  become  apparent).   Moreover,
when a party affirmatively states he has "no objection"  when   evidence  is
offered, any complaint is waived.  Holmes v.  State,  248  S.W.3d  194,  196(Tex. Crim. App. 2008).
      Here, appellant stated he had  no  objection  when  the  evidence  was
first offered.  After it had been admitted and the State sought  to  publish
it to the jury, appellant  reiterated  the  objections  promulgated  at  the
suppression hearing.  However,  at  that  point,  the  objections  were  not
timely.
      Yet, even if the objections were preserved, there would be  no  error.
According to the record, appellant voluntarily  appeared  at  the  sheriff's
office  to  undergo  a  polygraph.   He  appeared  calm   to   the   officer
administering the test and received his Miranda  warnings.   When  the  test
results indicated he was being disingenuous, he  informed  the  interrogator
that  he  was  not  lying  but  that  he  would  make  a   statement.    The
interrogation lasted a "couple of hours," according  to  appellant,  and  he
was allowed to  go  on  a  "bathroom  break"  during  its  occurrence.   The
interrogator also testified that  appellant  was  told,  before  making  the
written statement, that he did not have to provide one and that  the  choice
to do so would be voluntary.   From  these  indicia,  the  trial  court  had
factual basis to conclude that appellant's statement was  indeed  voluntary.
This is especially so since  the  record  reveals  that  the  trial  court's
decision  was  influenced  by  "the  credibility  of  the   witnesses"   who
testified; in other words, the trial court could  have  deigned  appellant's
testimony about feeling coerced unbelievable.
      Accordingly, appellant's  issue  is  overruled  and  the  judgment  is
affirmed.

                                  Brian Quinn
                                  Chief Justice

Do not publish.
